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                          IN THE UNITED STATES DISTRICT COURT

                         FOR THE EASTERN DISTRICT OF VIRGINIA

                                         Richmond Division

BHUPINDER SINGH,

                   Plaintiff,
v.                                                     Civil Action No.: 3:23cv339
                                                       Judge Robert E. Payne
Harmanpreet Singh,
Kulbir Kaur, and
Armaan VA Corp, d/b/a Lovely Market,

                   Defendants.

 Motion Seeking Relief from Entry of Default and to Extend Time for Filing of an Answer

         Comes now the defendant, Kulbir Kaur, by counsel, and moves this Court to for relief

from the Entry of Default as filed in ECF No. 22. On June 21, 2024, plaintiff filed a motion for

entry of default, (ECF No. 21). This Court entered the Order granting default prior to the

undersigned being retained. As the undersigned attempted to contact his client, it was discovered

that the United States transferred the defendant from Northern Neck Regional Jail to FCI

Oklahoma.

         The undersigned has contacted FCI Oklahoma but has not been successful in scheduling

a client conference at this point.

         Previously, this Court ordered Defendant to hire counsel or a notice of intent to

proceed pro se and file an Answer to the Complaint by May 31, 2024.

         On June 21, 2024, Plaintiff filed a Request for Entry of Default as to all three defendants.

         On June 26, 2024, the clerk entered Default as to the three defendants.

         On July 9, 2024, this Court ordered that Charles R. Samuels, Esquire either file a Notice

of Appearance and an explanation as to why he allowed his client(s) to be in default of this
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action or to file a Statement in Response to the Letter Motion regarding his representation of one

or more of the defendants by July 31, 2024.

The undersigned filed a Notice of Appearance on July 31, 2024, explaining that he was not

retained until after this matter was in default.

        Contemporaneously with this Motion to Extend Time, the defendant files an Answer to

the Complaint.

        The allowance of the late filed Answer will not prejudice the plaintiff in this matter.

WHEREFORE, Kulbir Kaur prays this Court extends the time for filing her Answer and for any

and other such relief as the Court deems necessary.

Respectfully submitted,

__/s/Charles R. Samuels___________________________
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Counsel for Kulbir Kaur
                                 CERTIFICATION OF SERVICE
        I hereby certify that on July 31, 2024, I mailed the Motion to Extend Time by electronic
mail or first-class mail, postage pre-paid to the Craig Juraj Curwood, Esquire
(craig@butlercurwood.com) and Samantha R Galina, Esquire (samantha@butlercurwood.com)
at Butler Curwood, PLC 140 Virginia Street, Suite 302 Richmond, Virginia 23219.

                                        /s/Charles R. Samuels
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